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                            UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY (TRENTON)

ROBERT EKNESS,
                                               Hon. Anne E. Thompson
       Plaintiff,                              Civil Action No.: 11-CV-02020-AET-TJB

vs.

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

       Defendant.


                   JOINT STIPULATION OF DISMISSAL AS TO
              DEFENDANT PORTFOLIO RECOVERY ASSOCIATES, LLC

It is hereby stipulated and agreed by Plaintiff and Defendant, pursuant to Fed.R.Civ.P.
41, that Plaintiff’s complaint is dismissed with prejudice and without costs. It is further
agreed that the court shall retain jurisdiction over this matter to rule on Defendant’s
motion for attorney’s fees and costs pursuant to 15 U.S.C. 1692k(a)(3), which shall be
filed within 30 days of the date of this stipulation, and which Plaintiff contests and shall
file an Opposition brief thereto in accordance with the rules of this Court.


/s/Jennifer Kurtz                                   /s/ Rachel Marin
Jennifer Kurtz, Esq.                                Rachel Marin, Esq.
The Law Offices of Jennifer M. Kurtz LLC            5 Walter E. Foran Blvd.,
540 Old Bridge Turnpike                             Suite 2007
South River, NJ 08882                               Flemington, New Jersey 08822
Attorneys for Plaintiff,                            Attorneys for Defendant,
ROBERT EKNESS                                       PORTFOLIO RECOVERY
                                                    ASSOCIATES, LLC
Dated: February 9, 2012                             Dated: February 9, 2012


And now, this ___________ day of ___________, the above Stipulation is approved:


                                                      BY THE COURT:

                                                      ______________________
                                                                        J.
